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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
                UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                  V.                                       (For Offenses Committed On or After November I, 1987)

               HECTOR MANUEL MUNOZ-RUIZ                                       Case Number:         !9CR4971-DMS

                                                                           Gerardo Gonzalez CJA
                                                                           Defendant's Attorney
USM Number                            57708 I 80
                                                                                                                      FILED
;HE-DEFENDANT:                                                                                                   ~ OCT 2 1 2020           Il'---t-
 t:8:1   pleaded guilty to coW1t(s)      _l~of~th~e~Infi~o~rm~a~ti~on~---------+,......,..·~Lp:;,,1;;:;i::•:;:;·~-;;;-.;;-;;'.·~;:;;,j.·
                                                                                                           souTHE.i:0 ~"'."f\1CT ()F C.l~LIFOHNII\
                                                                                                BY                    '/A.                DEPUTY
 D  was foWld guilty on count(s)
    after a olea ofnot guiltv.
Accordingly, the defendant is adjudged guilty of such coW1t(s), which involve the following offense(s):
                                                                                                                                   Connt
Title & Section                         Natnre of Offense                                                                        Number(s)
8 USC 1326                              ATTEMPTED REENTRY OF REMOVED ALIEN                                                           1




     The defendant is sentenced as provided in pages 2 through                       2            of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform· Act of 1984.
 D       The defendant has been found not guilty on count(s)

 D       Count(s)                                                    is           dismissed on the motion of the United States.

         Assessment: $100.00


 D        NTA Assessment*:$
          *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  IZI No fine               D Forfeiture pursuant to order filed                                       , included herein.
        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 3 0 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.

                                                                            October 21 2020
                                                                           Date o.flmposition of Sentence~

                                                                                         2:)k-ro-~
                                                                            HON. Dana M. Sabraw
                                                                            UNITED STATES DISTRICT JUDGE
            Case 3:19-cr-04971-DMS Document 41 Filed 10/21/20 PageID.54 Page 2 of 2

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                HECTOR MANUEL MUNOZ-RUIZ                                                 Judgment - Page 2 of2
CASE NUMBER:              19CR4971-DMS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 THIRTY (30) MONTHS.




 •      Sentence imposed pursuant to Title 8 USC Section l 326(b).
 •      The court makes the following recommendations to the Bureau of Prisons:




 •      The defendant is remanded to the custody of the United States Marshal.

 •      The defendant must surrender to the United States Marshal for this district:
        •   at _ _ _ _ _ _ _ _ A.M.                       on
                                                                   -------------------
        •    as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •      Prisons:
        •    on or before
        •    as notified by the United States Marshal.
        •    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
  I have executed this judgment as follows:

        Defendant delivered on                                            to
                                                                               ---------------
  at
       ------------ , with a certified copy of this judgment.
                                                                  UNITED STATES MARSHAL



                                      By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         !9CR4971-DMS
